
The Supreme Court affirmed the ruling of the Court below on February 12th, 1877, in the following opinion:
Per Curiam.
There are but two assignments of error. As to the first, the admission of the bond in evidence, whatever, doubt might arise upon the testimony of Stoever, the. subscribing witness, it was entirely dissipated by the testimony of the plaintiff himself, and of Runyon, a witness called by him, by which it appeared that he *400signed the bond, and called on Stoever to sign it, “to give it effect.” Although when a judge excludes a document we can only look at the evidence beforé him at the time to convict him of error, yet if he admits it, any defects in the proof may be supplied by evidence subsequently given. No representation is sworn to at the time of execution. The plaintiff says he signed it supposing it to be a letter of recommendation, because he had agreed previously to sign a recommendation, but refused to give a bond. He admits he signed it without reading it. Such a defence is entitled to no favor, and the bond was therefore properly in evidence. As to the second assignment of error, the books kept by the agent, Trucks, while in the office, whether made by him or others, were clearly admissable. What the effect of the entries might be, whether in charge or discharge, was a question for the jury.
Judgment affirmed.
